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                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY


 LTL MANAGEMENT LLC,
                                               Civil Action No.
                          Plaintiff,
                  -v-                          JURY TRIAL
 DR. THERESA SWAIN EMORY, DR.                  DEMANDED
 RICHARD LAWRENCE KRADIN, AND DR.
 JOHN COULTER MADDOX,

                          Defendants.


            COMPLAINT AND DEMAND FOR JURY TRIAL
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                      LOCAL CIVIL RULE 10.1(a) STATEMENT

       Pursuant to Local Civil Rule 10.1(a), the names and addresses of the parties

to this action are:

             The address of Plaintiff LTL Management LLC’s principal place of
              business is 501 George Street, New Brunswick, NJ 08933.

             Defendant Dr. Theresa Swain Emory’s addresses are 219 Rivers
              Edge, Williamsburg, VA 23185 and/or 408 Rivers Edge
              Williamsburg, VA 23185.

             Defendant Dr. Richard Lawrence Kradin’s address is 1 Colonel
              Wilkins Road, Amherst, NH 03031.

             Defendant Dr. John Coulter Maddox’s address is 1 Landslide Court,
              Palmyra, VA 22963.




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                                  INTRODUCTION
      1.     This is an action to recover for the knowing disparagement of Plaintiff’s

brand name products Johnson’s Baby Powder and Shower to Shower by Drs. Theresa

Emory, Richard Kradin, and John Maddox.

      2.     LTL recently filed a complaint against Dr. Jaqueline Moline, who had

widely proclaimed that she had demonstrated that cosmetic talcum powder products—

including Johnson’s Baby Powder and Shower to Shower—can cause mesothelioma

by her published paper of 33 mesothelioma patients who she claimed used talc powder

and had no other potential exposures to asbestos. That claim was false, as was laid

bare in September 2022 by a federal judge in the District Court for the Middle District

of North Carolina. The federal court rejected the plaintiff’s request to keep its falsity

findings under seal, reasoning that transparency furthered the valid purpose of

challenging the premise in other courts and cases.

      3.     As intended, the revelations concerning Dr. Moline’s paper led to scrutiny

of a second article published shortly after, and that purported to build on, Dr. Moline’s

paper. That second article was written by Drs. Emory, Kradin, and Maddox (the

“Authors”). See Exhibit A, Emory, et. al., Malignant mesothelioma following repeated

exposures to cosmetic talc: A case series of 75 patients (2020) (the “Emory Article” or




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the “Article”). Each of the Authors served as an expert for the asbestos mass tort

plaintiffs’ bar in support of claims against manufacturers of cosmetic talc products.

        4.    The Emory Article advanced the same premise—and claimed to bolster—

Dr. Moline’s work. It states: “Recently, Moline et al, reported a series of 33 subjects

with malignant mesothelioma, whose only known exposure to asbestos was cosmetic

talc. We present 75 additional subjects, with malignant mesothelioma, whose only

known exposure to asbestos was cosmetic talc.”              Ex. A, Article at 2. The

communications arm of the plaintiffs’ asbestos bar billed the Article as “the most

extensive case study to date on the topic.”1

        5.    But like Dr. Moline’s paper, that claim was false. Individuals in the

Emory Article had admitted to—and indeed had made claims seeking compensation

for—exposure to other sources of asbestos. The Authors knew that, or recklessly

disregarded substantial evidence to the contrary.

        6.    Nor is it true that the individuals in the Emory Article are all “additional”

to those in Dr. Moline’s paper. Even based on the limited information available, at

minimum one individual appears in both. The Article’s assertion of incremental and

corroborating findings is blatantly false.



1
    https://www.asbestos.com/news/2020/04/01/cosmetic-talc-mesothelioma-study/

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        7.   The Article was submitted to a journal where Dr. Moline (the author of

the first paper) and Dr. Kradin (the co-author of the Article) serve as contributing

editors. To paint the Article with a gloss of scientific rigor, the Article purported to be

reviewed by qualified peers in the scientific community. However, these “peer

reviewers” had no access to the underlying documentation which could be used to vet

the accuracy of the Article’s central claims. In fact, the Article was published a mere

10 days after it was submitted to the journal.

        8.   The Emory Article demonstrates Plaintiffs’ experts’ tactics to pollute the

scientific literature. They publish their junk litigation opinions in scientific journals.

They use their credentials to instill their publications with false credibility. They then

build from that fraudulent foundation by citing to each other’s work, which

manufactures a “body of literature” to present to judges and juries with the veneer of

scientific legitimacy. And they actively resist attempts to make public the information

that would reveal the deceit. In return, they are handsomely compensated for their

disparagement of the products that are the target of the plaintiffs’ bar.2 This trend is



2
  As just one example, in December 2022, the Southern District of Florida dismissed
thousands of product liability claims advanced against pharmaceutical manufacturers,
detailing the unfounded, unreliable and unscientific opinions that had been submitted
by a roster of plaintiffs’ experts— including Dr. Anne McTiernan, who, like Dr.


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on a steep upward trajectory, with increased litigation financing fueling extensive

lawyer advertising that solicits large volumes of claimants regardless of merit.

      9.     But this house of cards is collapsing as the truth comes to light. Like Dr.

Moline, the Authors must be held accountable for their deceit and disparagement,

which has caused harm to LTL, as well as all the women and men who have been

misled into believing that talc powder caused their mesothelioma, and therefore have

not addressed the true cause of their cancer. This must end.

                                       PARTIES

      10.    LTL Management LLC (“LTL”) is a North Carolina limited liability

company with its principal place of business in New Jersey.

      11.    LTL has one member: Johnson & Johnson Holdco (NA) Inc. Johnson &

Johnson Holdco (NA) Inc. is a citizen of New Jersey. Johnson & Johnson Holdco (NA)

Inc. is a corporation incorporated in and with its principal place of business in New

Jersey. LTL is therefore a citizen of New Jersey.

      12.    LTL is a wholly-owned indirect subsidiary of Johnson & Johnson. LTL

owns all rights, causes of action and privileges, and is responsible for all claims related



Moline, also fabricated a false narrative regarding the very talc products at issue here.
In re Zantac (Ranitidine), MDL No. 2924, Doc. No. 6120 (S.D. Fla. Dec. 6, 2022).


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to Johnson’s Baby Powder and Shower to Shower products, including liabilities arising

from all claims (the “Talc Claims”) relating in any way to injury or damage sustained

or incurred in the exposure to talc or talc-containing products (other than claims for

which the exclusive remedy is provided under a workers’ compensation statute or

similar laws).

      13.    Defendant Dr. Theresa Swain Emory is a pathologist affiliated with

Peninsula Pathology Associates in Newport News, Virginia. Peninsula Pathology

Associates provides litigation consulting services throughout the country and

advertises the services of Dr. Emory on its website. Dr. Emory has been disclosed as

a plaintiff’s expert in over a dozen cosmetic talc/mesothelioma cases against LTL. Dr.

Emory is a citizen of Virginia.

      14.    Defendant Dr. Richard Lawrence Kradin, is a pulmonologist and

pathologist, and he is a Professor with American Scholars. Dr. Kradin has been

disclosed as a plaintiff’s expert in over 200 cosmetic talc/mesothelioma cases against

LTL. He has provided deposition testimony in 18 talc/mesothelioma cases against

LTL, as well as trial testimony in 4 of those cases. Dr. Kradin is a citizen of New

Hampshire.

      15.    Defendant Dr. John Coulter Maddox is a pathologist affiliated with

Peninsula Pathology Associates in Newport News, Virginia. Peninsula Pathology

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Associates’ website advertises Dr. Maddox’s services as a litigation expert and

highlights that Dr. Maddox “reviews about five percent of mesotheliomas [sic] cases

in the U.S. as an expert witness.” Dr. Maddox has been disclosed as a plaintiff’s expert

in over 200 cosmetic talc/mesothelioma cases against LTL.              He has provided

deposition testimony in 20 talc/mesothelioma cases against LTL, as well as trial

testimony in 9 of those cases. Dr. Maddox is a citizen of Virginia.

                                   JURISDICTION
       16.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331

and 1337. LTL’s Lanham Act claim arises under federal law. And this Court has

supplemental jurisdiction over the remaining claims.

       17.     This Court also has subject matter jurisdiction pursuant to 28 U.S.C.

§ 1332. The parties are citizens of different States and the amount in controversy

exceeds the sum or value of $75,000, exclusive of interest, costs and fees. LTL is a

citizen of New Jersey, Dr. Kradin is a citizen of New Hampshire, and Drs. Emory and

Maddox are citizens of Virginia.

       18.     Venue is proper under 28 U.S.C. § 1391, which provides for proper venue

in the judicial district in which a substantial part of the events or omissions giving rise

to the claim occurred, or a substantial part of property that is the subject of the action

is situated.


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                                        FACTS

I.    Drs. Emory, Kradin, and Maddox: Plaintiffs’ Paid Expert Witnesses.

      19.    Drs. Kradin, Maddox, and Emory have all made careers and small

fortunes from testifying on behalf of the mass tort asbestos plaintiffs’ bar.

      20.    Dr. Emory. Dr. Emory devotes half of her consulting work to asbestos

litigation, where she always testifies on behalf of plaintiffs. For this work, she charges

$600 per hour and $6,000 per day for trial testimony.

      21.    In addition to her salary, Dr. Emory has an ownership interest in Peninsula

Pathology Associates for which she receives a 22% distribution of the company’s

consulting profits. These profits include hundreds of thousands of dollars’ worth of

fees associated with asbestos litigation, including fees obtained by Dr. Maddox, her

partner at Peninsula Pathology Associates.

      22.    Dr. Kradin. Dr. Kradin has testified in asbestos-related litigation for over

30 years. Aside from approximately four or five instances, Dr. Kradin’s work on

asbestos litigation is always on behalf of plaintiffs. He works on approximately 50 to

75 asbestos cases per year, is deposed approximately 50 times per year, and has

authored thousands of expert reports for plaintiffs’ counsel.




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        23.   For this work, he is paid between approximately $250,000 and $400,000

per year (about 40% of his total income) and, in aggregate, has received over $3

million.

        24.   Dr. Kradin has been disclosed as a plaintiff’s expert in over 200

talc/mesothelioma cases against LTL. He has testified many times at both depositions

and trials.

        25.   Dr. Maddox. Dr. Maddox has been consulting in litigation on behalf of

plaintiffs for more than 40 years. During this time, more than 90% of his cases have

been on behalf of plaintiffs, including 100% of his litigation work since 2007. Dr.

Maddox has been a paid expert in asbestos litigation for multiple plaintiffs’ firms,

including for Simon Greenstone Panatier, PC more than 200 times.

        26.   As a paid expert while a partner at Peninsula Pathology Associates, Dr.

Maddox charged $500 per hour for his litigation work and routinely consulted on more

than 100 asbestos litigation cases per year. Since he retired from the clinical practice

of medicine and gave up his full partnership at the end of 2019, all of his income has

been from either litigation or deferred compensation from his former partnership. Dr.

Maddox has consistently earned hundreds of thousands of dollars per year for his

litigation work, including approximately $125,000 from his litigation consulting in

2020.

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      27.    Before being paid to testify that talcum powder causes mesothelioma, Drs.

Kradin and Emory never attributed their patients’ mesothelioma to talcum powder in

their respective clinical practices, despite having testified that the potential

contamination of talc with asbestos has been known since the 1970s. Similarly, the

only time Dr. Maddox concluded that a person’s mesothelioma was caused by the use

of talcum powder was when he was being paid as an expert for plaintiffs’ lawyers. He

testified in New Jersey in the Henry trial and the consolidated Barden trial against LTL.

II.   The Authors Published Disparaging Statements In Their Article.

      28.    In 2020, shortly after Dr. Moline published her deceitful and disparaging

paper, the Authors published the Emory Article, reciting findings of a follow-on

“study” that purported to provide incremental substantiation for the claim that the use

of cosmetic talc powder causes mesothelioma.

      29.    The Emory Article states that it “presents 75 additional subjects, with

malignant mesothelioma, whose only known exposure to asbestos was cosmetic talc.”

Ex. A, Article at 2.

      30.    Notably, however, the Authors did not disclose the names of the 75

individuals featured in the Article and have actively attempted to conceal the

individuals’ identities (as discussed further below).




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      31.    The Authors also did not disclose what is now irrefutable: all 75

individuals are plaintiffs in litigation where at least one of the Authors served as an

expert witness on behalf of plaintiffs’ counsel.

      32.    Rather, the Article states only that “the cases were submitted in medico‐

legal consultation.” Ex. A, Article at 4. And the Article’s conflict of interest statement

only discloses that “Drs Emory, Maddox, and Kradin have testified in asbestos

litigation, primarily for plaintiffs.” Ex. A, Article at 6. That statement fails to inform

readers both that the Authors are experts in litigation specifically related to cosmetic

talc, and that they served as experts on behalf of the very plaintiffs who are the subjects

of the Article.

      33.    According to the Article: Dr. Maddox and Dr. Kradin “developed the

concept and the design of the work.” Ex. A, Article at 6. Dr. Emory “reviewed the

materials, performed the statistical analysis, and was the primary author of the

manuscript.” Id. And Dr. Kradin “revised and gave the final approval of the version

to be published.” Id.

      34.    Each Author contributed approximately one third of the cases to the

Article, with slightly less than one-third coming from Dr. Emory and slightly more

than one-third coming from Dr. Maddox.




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      35.    The Emory Article states multiple times that the subjects of the Article

had no other exposure to asbestos apart from alleged exposure to asbestos from talcum

powder:

       “Methods: Seventy-five individuals (64 females; 11 males) with malignant
        mesothelioma, whose only known exposure to asbestos was repeated
        exposures to cosmetic talcum powders, were reviewed in medical‐legal
        consultation.” Ex. A, Article at 1.

       “We present 75 additional subjects, with malignant mesothelioma, whose
        only known exposure to asbestos was cosmetic talc.” Ex. A, Article at 2.

       “Seventy-five subjects, whose only known exposure to asbestos was via
        cosmetic talc, were included for further examination.” Ex. A, Article at 2.

      36.    The Authors later published a response to a letter to the editor concerning

their Article that doubled-down on these claims. See Exhibit B, Emory, et al., Letter

to the Editor: Authors’ response to “malignant mesothelioma following exposure to

cosmetic talc: Association, not causation” (2020). In that response, the Authors

similarly stated:

       “[W]e excluded those where a history of other asbestos exposures were
        present.”

       “Our study is a case series of patients who developed mesothelioma, and
        whose only known exposure to asbestos was through cosmetic talc.”

       “Our series of 75 additional individuals with malignant mesothelioma whose
        only known exposure was cosmetic talc is further evidence that cosmetic talc
        should be considered a probable cause of mesothelioma.”



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      37.    The Authors submitted the Article to the American Journal of Industrial

Medicine. That journal was the Authors’ first choice for publication, and they did not

submit their Article to any other journals.

      38.    Dr. Moline and Dr. Kradin are both contributing editors for the American

Journal of Industrial Medicine.3

      39.    The journal states that submitted manuscripts are peer reviewed before

they are published, which conveys to the readers that claims made therein have been

vetted and are substantiated. Its website states to potential authors: “You must also

provide a PDF version of the manuscript for Peer Review.” Undisclosed at the time

but now known, the “peer reviewers” of the Article were not afforded access to any of

the underlying data that would have been necessary to vet the assertion that individuals

had no non-talc exposures to asbestos.

      40.    In fact, the Article was published a mere 10 days after it was submitted to

the journal. Ex. A, Article at 1.

      41.    The American Journal of Industrial Medicine is operated by the

publishing company Wiley, which is headquartered in New Jersey.




3
 https://onlinelibrary.wiley.com/page/journal/10970274/homepage/
editorialboard.html

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III.    The Authors Republished Their Deceitful And Disparaging Claims
        42.   After publishing the Article, the Authors republished the false claims

made therein in the public domain, which were repeated by other outlets reporting on

the Article, including republication of the Article’s claims by the asbestos mass tort

plaintiffs’ bar for whom the Authors work.

        43.   In early 2020, for example, Dr. Emory publicly stated that the Authors

“investigated 75 individuals with malignant mesothelioma, whose only known

exposure to asbestos was repeated exposures to cosmetic talcum powder.” Exhibit C,

Mesothelioma and Repeated Cosmetic Talc Exposure, Medical Research.com (Mar.

18, 2020).4

        44.   VeryWellHealth.com wrote that “studies have linked mesothelioma to

repeated use of cosmetic talcum powder contaminated with asbestos,” citing the Emory

Article. Exhibit D, Does Talcum Powder Cause Cancer? VeryWellHealth.com (Dec.

15, 2020).5

        45.   SurvivingMesothelioma.com wrote that “A new study in the American

Journal of Industrial Medicine appears to offer definitive evidence that repeated

exposure to cosmetic talc can cause mesothelioma,” citing the Emory Article. Exhibit


4
    https://medicalresearch.com/mesothelioma-and-repeated-cosmetic-talc-exposure/
5
    https://www.verywellhealth.com/does-talc-cause-cancer-5088678

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E, A.         Strauss, Cosmetic Talc Can Cause Mesothelioma, Study Finds,

SurvivingMesothelioma.com (Mar. 21, 2020). 6 The website goes on to state that

“Manufactures like Johnson & Johnson insist that they are pure. But the new study

shows that may not be the case,” citing to the Emory Article.

        46.    The plaintiffs’ asbestos bar also promoted the Article. For example,

Asbestos.com published a story on the Article, describing it as “the most extensive case

study to date on the topic.” Exhibit F, Latest Study Reinforces Cosmetic Talc,

Mesothelioma Link, Asbestos.com (Apr. 1, 2020). 7 Asbestos.com is sponsored by

plaintiffs’ law firms concentrating in asbestos litigation. The story states that the

“study involved 75 mesothelioma patients — including 64 women — who believed

their only exposure to asbestos was through cosmetic talcum powder.” Id.

        47.    Mesothelioma.net published a story about the Article that begins: “Recent

headlines have featured the stories of mesothelioma victims filing successful lawsuits

against Johnson & Johnson and other cosmetic talc product companies, holding them

responsible for their terminal diagnoses.” Exhibit G, Study Concludes That Exposure




6
    https://survivingmesothelioma.com/cosmetic-talc-casuse-mesothelioma/
7
    https://www.asbestos.com/news/2020/04/01/cosmetic-talc-mesothelioma-study/

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To Cosmetic Talc Can Lead to Mesothelioma, Mesothelioma.net (Mar. 18, 2020).8 The

story states that the Emory Article “included seventy-five individuals, all of whom had

been diagnosed with malignant mesothelioma and whose only known exposure to

asbestos was repeated exposure to cosmetic talcum powders.” Id. Mesothelioma.net

is funded by a lawyer who handles legal proceedings for asbestos-related injuries.

       48.    MesotheliomaGuide.com has a page devoted to “Talc and Mesothelioma”

which begins: “Johnson & Johnson is the brand most connected to asbestos in talc.”

Exhibit H, Talc and Mesothelioma, MesotheliomaGuide.com.9 It states: “A second

study, which was published in the American Journal of Industrial Medicine, analyzed

the connection between cosmetic talc and mesothelioma. The researchers found 75

people whose only known asbestos exposure was from asbestos-contaminated talc.”

Id. The website is sponsored by a plaintiffs’ law firm which focuses on asbestos

litigation.

       49.    AsbestosJustice.co.uk published a story stating that the “study examined

75 mesothelioma patients who had used cosmetic talc frequently for decades and had




8
 https://mesothelioma.net/mesothelioma-news/study-concludes-that-exposure-to-
cosmetic-talc-can-lead-to-mesothelioma/
9
  https://www.mesotheliomaguide.com/mesothelioma/causes/talc-mesothelioma-
from-asbestos-exposure/

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no other known asbestos exposure.” Exhibit I, Study confirms link between cosmetic

talc and mesothelioma, AsbestosJustice.co.uk.10 Asbestos Justice is a “trading name”

of Oliver & Co Solicitors Limited.

      50.   In April 2020, TalcumPowderCancerLawsuit.com published a story

stating that Dr. Emory and her coauthors “found that talc products were contaminated

and asbestos and caused mesothelioma in a large percentage of the 75 people in the

study . . . ”    Exhibit J, New Study Finds Asbestos Fibers in Lung Tissue of

Mesothelioma Victims, TalcumPowderCancerLawsuit.com. 11           This website is

maintained by OnderLaw, LLC, a plaintiffs’ firm that has handled cosmetic talcum

powder claims.

      51.   The Law Offices of Kenneth A. Wilhelm cited the Emory Article,

claiming that it “has strengthened the link between prolonged exposure to cosmetic

talcum powder and a rare form of cancer called mesothelioma” while also advertising




10
 https://www.asbestosjustice.co.uk/study-confirms-link-between-cosmetic-talc-and-
mesothelioma/
11
   https://www.talcumpowdercancerlawsuit.com/news/new-study-finds-asbestos-
fibers-in-lung.asp

                                        18
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litigation concerning Johnson’s Baby Powder.12 Exhibit K, K. Wilhelm, New Study

Reinforces Link Between Talc and Mesothelioma, Work4YouLaw.com (2020).

          52.   Karst & von Oiste LLP also cited the Emory Article on its website

MesoLawsuitAfterDeath.com, stating that it “featured 75 mesothelioma patients who

thought their sole exposure to asbestos was through the use of talcum powder.”

Exhibit L, Karst & von Oiste LLP, New Clinical Study Finds Connection Between

Talc and Malignant Mesothelioma, MesoLawsuitAfterDeath.com (May 1, 2020).13

          53.   The Authors also republished the central thesis of the Article in public

litigation. After the online publication of the Article, the Authors were disclosed in

dozens of cosmetic talc/mesothelioma cases against LTL, and they routinely relied on

their Article in those cases and cases against other talc defendants.

          54.   For example, in January 2023, Dr. Kradin testified that “any evidence of

additional exposures” would have excluded that individual from the Article’s case

series.




12
 https://www.work4youlaw.com/blog/new-study-reinforces-link-between-talc-and-
mesothelioma/amp/
13
  https://www.mesolawsuitafterdeath.com/blog/new-clinical-study-finds-connection-
between-talc-and-malignant-mesothelioma/

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      55.   In one cosmetic talc trial, plaintiffs’ counsel told the jury in her opening

statement: “Dr. Moline and Dr. Emory also studied this extensively and they both

published peer-reviewed papers on two case series of individuals who consistently

basically were only exposed to asbestos from cosmetic talc. Dr. Moline's paper follows

33 people and Dr. Emory’s, 75. Huge case studies that show these people were only

exposed to asbestos from talc and they have mesothelioma.”

      56.   This is the same Plaintiffs’ counsel who threatened to report Dr. Moline’s

employer’s lawyer to HHS and the New York Bar if he did not claw back the document

revealing that Betty Bell was one of the subjects in Dr. Moline’s paper (which

demonstrated the falsity of that paper). Ms. Bell had filed workers’ compensation

claims with the North Carolina Industrial Commission in September 2015, asserting,

under criminal penalty for false statements, that she was exposed to asbestos during

prior employment with two textile employers.

      57.   Dr. Emory later testified at that trial and relied on her Article. She told

the jury: “[W]e took all the people that had no other evidence of exposure to asbestos

except for their use of cosmetic talc and we had 75 people left.” She said again

moments later: “[W]hat we found was we had 75 people whose only known exposure

was the use of cosmetic talc that developed malignant mesothelioma, which is a signal




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tumor of asbestos exposure.” She also claimed she could not ethically release the

names of the subjects of her Article.

      58.    Moreover, in at least 41 cosmetic talc/mesothelioma cases against LTL, a

combined 9 other plaintiff experts have relied on the Article in either their testimony

or court disclosures.

      59.    Plaintiffs’ expert Dr. Finkelstein, for example, amended a litigation report

one month after the Article was published to add a discussion of the Article. He wrote:

“Emory and colleagues presented a case series of seventy-five individuals (64 females;

11 males) with malignant mesothelioma, whose only known exposure to asbestos was

repeated exposures to cosmetic talcum powders, and who were reviewed in medical-

legal consultation.”

      60.    As another example, Dr. Moline issued a report discussing the Emory

Article, stating: “I have recently published a paper, along with co-authors, that

describes 33 cases of mesothelioma among individuals whose only known exposure to

asbestos was through their use of cosmetic talc (Moline et al, 2019). Emory et al.

(2020) has published a paper on an additional 75 individuals with mesothelioma whose

source of asbestos exposure was cosmetic talc. Together, these papers show over 110

patients with mesothelioma and cosmetic talc use.”




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      61.    Dr. Moline later discussed the Emory Article at trial in a different case,

testifying that the 75 individuals in the Article represents “a significant number of

people” and that the Article is “in line with other papers in the literature, and it just

adds to the body of -- of scientific knowledge.”

      62.    Another plaintiffs’ expert at that same trial (Dr. Allan Smith) testified that

the “main source of information that [he is] aware of today” that he relies upon to testify

that talcum powder causes mesothelioma “are from some recent case series:” Dr.

Moline’s paper and the Emory Article.

      63.    In a separate trial, a different plaintiffs’ expert (Dr. David Egilman)

similarly relied on the Emory Article.

      64.    Outside of court proceedings, Dr. Moline has issued public statements

relying upon the Emory Article to buttress her own paper. For example, in written

comments on EPA’s Draft Asbestos Risk Evaluation, Dr. Moline cited to the Emory

Article stating: “In 2020 Emory et al. published a larger case series of 75 additional

patients with cosmetic talcum powder exposure and mesothelioma. There are now over

110 cases of mesothelioma reported in the peer-reviewed medical literature identifying

mesothelioma among users of cosmetic talc.”14 Exhibit M, Toxic Substances Control


14
  https://www.regulations.gov/docket/EPA-HQ-OPPT-2019-
0501/comments?filter=moline

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Act (TSCA) Science Advisory Committee on Chemicals Review of Risk Evaluation

for Asbestos, Comment submitted by Jacqueline Moline (May 31, 2020).

      65.    Yet, facts have now come to light making clear that the statement that

none of the 75 individuals had any other exposure to asbestos is simply not true, as

described more fully in Part IV below.

IV.   The Authors Knew Their Statements Were False Or Recklessly Ignored
      Available Information Demonstrating Their Falsity When Made.

      66.    When the Authors published their statements in the public domain, to the

scientific community, and in various courts across the country, they knew that the

premise of their position—that they conducted a “study” of 75 mesothelioma patients

whose sole exposure to asbestos was through talc powder—was false or recklessly

ignored available information demonstrating its falsity.

      67.    The truth is that the Authors were intimately familiar with the case

histories of the 75 individuals referenced in the Article based on their role as plaintiffs’

experts in the underlying tort cases in which those individuals had asserted claims

against LTL and others.

      68.    Given that the Authors chose to omit certain information regarding the

individuals in the Article, it is difficult to match every one of the Article’s subjects to

a litigation plaintiff. However, even with that limitation, the record now indicates that



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      71.    Moreover, the information uncovered in litigation of Mr. Lanzo’s claims

demonstrates the falsity of the Article’s central premise: that the individuals had no

non-talc potential exposures to asbestos.

      72.    As background, the Authors state in their Article that “crocidolite”

asbestos fibers are generally found in “[i]ndustrial asbestos products,” and that it is not

among the types of asbestos generally present in cosmetic talc. Ex. A, Article at 2.

      73.    To bolster their claim that Mr. Lanzo’s only asbestos exposure was to

cosmetic talc, the Authors stated in their Article that crocidolite asbestos was not found

in the tissue of Case #72. Specifically, they state that the only asbestos types found in

Case #72’s tissue were anthophyllite and tremolite—i.e. not crocidolite.

      74.    The record from the Lanzo litigation establishes the falsity of that claim.

In 2016, Stephen Lanzo brought a claim against LTL alleging that he was exposed to

asbestos through use of Johnson’s Baby Powder. Mr. Lanzo is a New Jersey resident,

and his case was filed in New Jersey. The tissue analysis discussed in the Article was

conducted in connection with Mr. Lanzo’s New Jersey case.




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      81.    In the school he attended from grades 1-4, the school district found what

amounted to 64 bags of friable asbestos-containing material which would have been

present while he attended (and removed after he left).

      82.    In the school he attended for grade 5, large amounts of friable asbestos

were found and removed from the boys’ bathroom and classrooms in the years after

his attendance.

      83.    In his middle school, abatement records show that asbestos-containing

material was removed from classrooms after Mr. Lanzo was a student at the school. At

one point, 67 bags of friable waste was removed from the school. All this asbestos

would have been present when Mr. Lanzo was there.

      84.    In his high school, hundreds of bags of friable asbestos were removed.

The school district removed 200 square-feet of friable asbestos from the ground-floor

lobby from 1989-1992—meaning some of the asbestos was removed during Mr.

Lanzo’s junior and senior year.

      85.    Neither potential exposure is mentioned in the Article. That Mr. Lanzo

appears in both the Emory Article and Dr. Moline’s paper belies the Authors’ claims

that their Article bolstered Dr. Moline’s work.

      86.    The Authors’ statement that there were no other asbestos exposures for

Case #72 is false.

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suspected that he had been exposed to asbestos in the 1980s through demolition-based

construction work.

      99.    In addition, Mr. Blinkinsop testified that he was present during what he

believed to be asbestos abatement work conducted at a high school where he worked

as an assistant principal in 1999 or 2000.

      100. Plaintiffs’ expert Dr. Gordon concluded that he found an “asbestos body”

in Mr. Blinkinsop’s tissue—something not mentioned in the Emory Article. At trial,

Defendants presented scientific evidence demonstrating that asbestos bodies are

markers of exposure to commercial forms of asbestos including the types used in

construction projects. That evidence showed that 96 percent of asbestos bodies form

on commercial types of asbestos rather than the types of asbestos plaintiffs claimed

were present in Johnson’s Baby Powder and Shower to Shower.

      101. These potential exposures from construction work and the school were

significant enough that they were included on the jury form that the jury used when

considering what asbestos exposures contributed to Mr. Blinkinsop’s disease, though

the jury never needed to reach that question.

      102. The Authors’ statement that there were no other asbestos exposures for

Case #65 is false.




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same timeframe as Mr. Hanson testified that he worked hands on with raw asbestos

and other asbestos-containing products. Ms. Hanson testified that during Mr. Hanson’s

employment at these two companies, she was primarily responsible for household

laundry.

      107. During his deposition in Ms. Hanson’s case, Dr. Kradin acknowledged

that “it has been repeatedly and consistently demonstrated in the medical and scientific

literature that family members exposed to asbestos dust from laundering a worker’s

clothing have . . . a significantly increased risk of developing mesothelioma.”

      108. Nevertheless, the Authors represented that Case #75 had no exposures to

asbestos other than talcum powder.

      109. The court in the Hanson case granted summary judgment in favor of the

talc defendant, concluding that “causation requires a showing more than what Dr.

Kradin offers.” Hanson v. Colgate-Palmolive Co., No. 16-cv-34, 2018 WL 4686438,

at *9 (S.D. Ga. Sept. 28, 2018).

      110. The Authors’ statement that there were no other asbestos exposures for

Case #75 at least recklessly disregards available information.




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      115. Ms. Brick’s complaint also named Lorillard Tobacco Company as a

defendant. She claimed she was exposed to asbestos through smoking Kent cigarettes

with “Micronite” filters containing crocidolite asbestos.

      116. Dr. Kradin’s own expert report in Ms. Brick’s case from 2017 (well before

the Emory Article was published) stated that Ms. Brick was exposed to asbestos-

containing cigarettes known as Kent cigarettes.

      117. Dr. Kradin detailed in his report how smoking Kent cigarettes led to high

levels of exposures to a particularly potent type of asbestos: “From 1952 to early 1957,

12 billion Kent cigarettes were sold with ‘Micronite’ filters containing crocidolite

asbestos. A pack-per-day smoker has been estimated to have inhaled >100 million

asbestos fibers per year. . . . Crocidolite asbestos is recognized as the most carcinogenic

type of asbestos on a per fiber basis, and individuals exposed to crocidolite show an

increased incidence of malignant mesothelioma.”

      118. As Dr. Kradin documented in his expert report, “[i]n 1952, [Ms. Brick]

began to purchase her own Kent cigarettes. She smoked as much as a package a day

by 1955. She quit smoking Kent cigarettes sometime in the 1960’s.”




specified that she began using Johnson’s Baby Powder in 1947 or 1948, which would
be a 70-71 year “latency.”

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      130. Before publication, Dr. Maddox contacted plaintiffs’ law firms and asked

whether they had any objections to the Article. The one item he heard from the

plaintiff’s law firms was the insistence that the data be kept anonymous.

      131. After publishing the Article, the Authors and one of their employers

resisted efforts by others to obtain information about their cases which would uncover

the Article’s false premise.

      132. On at least nine separate occasions, the Authors refused to testify at their

depositions in cases against LTL regarding the identities of the individuals in their

Article. They often cited HIPAA as the basis for their refusal to testify, though the Bell

Court concluded that HIPAA did not apply to the identity of an individual in the similar

context of Dr. Moline’s paper.

      133. As some examples of their refusal to testify:

           April 2020 (Emory): “Q. [W]ill you provide the names of those patients?
            A. Absolutely not. That would be a violation of HIPAA.”

           May 2020 (Maddox): “I cannot answer questions that have to do with
            any specific individual or case...”

           August 2020 (Kradin): “Q. And is it your position that you will not
            reveal the identities of the cases and the theory? A. That would be my
            position, consistent with Dr. Emory and Dr. Maddox, I believe.”

      134. This refusal has continued as recently as last month. In a May 2023

deposition, even though Dr. Kradin acknowledged he would be relying on the Article


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he authored for purposes of his opinion, he refused to answer any questions even

related to the Article.

       Q. And if I have written reports that I contend your –
          A. Sir, I’m not going to answer this -- anything related to this paper at this
          point with you.

      135. He also refused to testify about prior litigation reports:

       Q. [A]re you willing to look at Ms. Brick’s written report that you issued?
          A. No, because this -- because I’m here to testify about Mr. Streck, not Ms.
          Brick, so the answer is, no, I'm not.

      136. Additionally, Dr. Kradin and Dr. Maddox have dodged disclosing the

identity of the individuals in the Article by testifying that they did not retain any

documentation showing their identity. Dr. Maddox said that he no longer had the key

that would match cases in the article to litigation plaintiffs because he relinquished it

when he delivered the data to Dr. Emory. Dr. Kradin similarly has said that he does

not have information that could identify the individuals in the Emory Article because

he did not keep the identifying records.

      137. On top of that, Dr. Emory refused to reveal who performed the tissue

analyses reported in the Article (something the Article itself does not disclose): “We’re

not going to do that. We’re not releasing it.”




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      138. Dr. Maddox and Dr. Emory’s company, Peninsula Pathology Associates,

also moved to quash a subpoena seeking to uncover the identity of the individuals in

the Article. See Motion to Quash (ECF 1), In Re Subpoena For Documents Issued To

Peninsula Pathology Associates, 22-mc-1 (E.D.Va., Nov. 18, 2022).

VI.   LTL Was Gravely Harmed By The Authors’ False Statements.

      139. The Authors’ disparagement of Johnson’s Baby Powder and Shower to

Shower talc products for their own aggrandizement harmed LTL.

      140. Drs. Emory, Maddox, and Kradin knew that LTL’s principal place of

business was in New Jersey. They targeted New Jersey with their false statements, and

New Jersey is the focal point of their false statements.

      141. The Article was published in March 2020. The sales volume and profits

from Johnson’s Baby Powder declined in 2020. And an ever-increasing percentage of

Johnson’s Baby Powder sales was the corn starch-based version compared to the talc-

based version. The Authors’ statements were a cause of this sales decline.

      142. LTL announced in May 2020 its discontinuation of talc-based Johnson’s

Baby Powder in the United States and Canada. As the press release at the time

explained: “Demand for talc-based Johnson’s Baby Powder in North America ha[d]

been declining due in large part to changes in consumer habits and fueled by




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misinformation around the safety of the product and a constant barrage of litigation

advertising.” The Emory Article is an element of that misinformation.

      143. LTL also incurred substantial costs as a direct result of the Authors’ false

statements. Among other costs, LTL spent millions of dollars in fees paid to attorneys,

expert witnesses, and other professionals to investigate, respond to, defend against, and

otherwise counteract the Authors’ false statements.       That included deposing the

Authors multiple times regarding their Article. The Authors’ false statements also had

the effect of increasing settlement values, which continued up until the LTL bankruptcy

proceedings began.

      144. Indeed, the Authors’ false statements have forced LTL to file this lawsuit

to correct the record.

                               CAUSES OF ACTION
                Count I: Injurious Falsehood / Product Disparagement

      145. LTL hereby incorporates each preceding paragraph as though fully set

forth herein.

      146. The Authors made statements that contain false and untrue assertions of

fact, including the false statements referenced above, which include, but are not limited

to:




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           a.    The multiple factual assertions in the Article, including (emphasis

     added):

                 i.     “Methods: Seventy‐five individuals (64 females; 11 males)

                        with malignant mesothelioma, whose only known exposure

                        to asbestos was repeated exposures to cosmetic talcum

                        powders, were reviewed in medical‐legal consultation.” Ex.

                        A, Article at 1.

                 ii.    “We present 75 additional subjects, with malignant

                        mesothelioma, whose only known exposure to asbestos was

                        cosmetic talc.” Ex. A, Article at 2.

                 iii.   “Seventy‐five subjects, whose only known exposure to

                        asbestos was via cosmetic talc, were included for further

                        examination.” Ex. A, Article at 2.

           b.    The multiple factual assertions in the letter to the editor response

     (Exhibit B), including (emphasis added):

                 i.     “[W]e excluded those where a history of other asbestos

                        exposures were present.”




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                    ii.    “Our study is a case series of patients who developed

                           mesothelioma, and whose only known exposure to asbestos

                           was through cosmetic talc.”

                    iii.   “Our series of 75 additional individuals with malignant

                           mesothelioma whose only known exposure was cosmetic

                           talc is further evidence that cosmetic talc should be

                           considered a probable cause of mesothelioma.”

      147. Dr. Emory’s statement to MedicalResearch.com stating that the Authors

“investigated 75 individuals with malignant mesothelioma, whose only known

exposure to asbestos was repeated exposures to cosmetic talcum powder.” Ex. C,

Mesothelioma and Repeated Cosmetic Talc Exposure, Medical Research.com (Mar.

18, 2020) (emphasis added). The Authors published the false statements alleged herein

to others, including through electronic and hard-copy publication of the Article. The

Authors’ false statements were read and otherwise received by the public at large,

consumers and manufacturers of cosmetic talc products, scientists, and attorneys and

expert witnesses involved in talcum powder litigation, among others.

      148. The Authors’ false Article has been republished by numerous sources,

relied upon by plaintiffs’ multiple expert witnesses in talc litigation, and considered by

judges and juries throughout the country adjudicating cosmetic talc claims.

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      149. The Authors intended and/or reasonably anticipated that the publication

of their false statements would disparage the safety of the Johnson’s Baby Powder and

Shower to Shower products and harm LTL’s interests. The Authors’ false statements

did disparage the safety of those products.

      150. The Authors acted with actual malice because their false statements were

made with the knowledge that they were false and/or with reckless disregard as to their

truth or falsity. Moreover, as described herein, the Authors have repeatedly sought to

conceal evidence demonstrating the falsity of their statements, highlighting that their

statements were made with knowledge that they were false and/or with reckless

disregard as to their truth or falsity. Their acts of concealment include statements

reaffirming the false statements in the Article and refusing to disclose the identity of

the 75 subjects of the Article based on unsupported claims of confidentiality.

      151. The Authors acted without any privilege, authorization, or immunity in

making their false statements.     The statements alleged herein are not protected

statements of scientific opinion but, rather, economically-motivated, false, and

inaccurate statements concerning the data underlying their Article.

      152. The Authors’ false statements were made of and concerning LTL’s

products. The Authors’ false statements impugned the safety of all cosmetic talc

products, including Johnson’s Baby Powder and Shower to Shower. Johnson’s Baby

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Powder and Shower to Shower products were well-recognized, the leading brands

among a discrete and limited number of cosmetic talc products in the market.

      153. On information and belief, Johnson’s Baby Powder and Shower to

Shower together maintained well over a majority of the market share for talc powder

products in the United States before their discontinuation. Any comments disparaging

the safety of cosmetic talc generally necessarily disparaged those products.

      154. To support their contention of the presence of asbestos in cosmetic talc,

the Authors relied on the paper Steffen (2020). Ex. A, Article at 6, n.10. That paper—

co-authored by numerous Plaintiffs’ experts—discusses litigation testing of Johnson’s

Baby Powder and Shower to Shower. References to those products permeate the paper.

The Authors of the Emory Article also refer to 1970s testing of Johnson’s Baby

Powder. Ex. A, Article at 1-2 & n.6.

      155. Various websites linked the Article to Johnson & Johnson and Johnson’s

Baby Powder, thereby demonstrating that readers of the statements in fact associated

them with LTL’s products. Mesothelioma.net published a story about the Article that

begins: “Recent headlines have featured the stories of mesothelioma victims filing

successful lawsuits against Johnson & Johnson and other cosmetic talc product

companies, holding them responsible for their terminal diagnoses.” Ex. G., Study

Concludes That Exposure To Cosmetic Talc Can Lead to Mesothelioma,

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Mesothelioma.net (Mar. 18, 2020).17 The story states that the Emory Article “included

seventy-five individuals, all of whom had been diagnosed with malignant

mesothelioma and whose only known exposure to asbestos was repeated exposure to

cosmetic talcum powders.” Id.

      156. MesotheliomaGuide.com has a page devoted to “Talc and Mesothelioma”

which begins: “Johnson & Johnson is the brand most connected to asbestos in talc.”

Ex. H., Talc and Mesothelioma, MesotheliomaGuide.com.18 It states: “A second study,

which was published in the American Journal of Industrial Medicine, analyzed the

connection between cosmetic talc and mesothelioma. The researchers found 75 people

whose only known asbestos exposure was from asbestos-contaminated talc.” Id.

      157. The Law Offices of Kenneth A. Wilhelm cited the Emory Article,

claiming that it “has strengthened the link between prolonged exposure to cosmetic

talcum powder and a rare form of cancer called mesothelioma” while also advertising




17
  https://mesothelioma.net/mesothelioma-news/study-concludes-that-exposure-to-
cosmetic-talc-can-lead-to-mesothelioma/
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  https://www.mesotheliomaguide.com/mesothelioma/causes/talc-mesothelioma-
from-asbestos-exposure/

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litigation concerning Johnson’s Baby Powder.        Ex. K., K. Wilhelm, New Study

Reinforces Link Between Talc and Mesothelioma, Work4YouLaw.com (2020).19

      158. As a result, anyone reading, hearing, or otherwise receiving the Authors’

false statements would have associated those statements with the Johnson’s Baby

Powder and Shower to Shower products.

      159. After the online publication of the Article, the Authors have been

disclosed in dozens of cosmetic talc/mesothelioma cases against LTL, many of which

are in New Jersey. The Authors routinely rely on their Article in these cases, including

in the New Jersey cases. Moreover, in at least 41 cosmetic talc/mesothelioma cases

against LTL, a combined 9 other plaintiff experts have relied on the Article in either

their testimony or court disclosures.

      160. As a direct and proximate cause of the Authors’ false statements, LTL has

suffered, and continues to suffer, actual and special damages, including, without

limitation, lost profits on the sale of Johnson’s Baby Powder caused by the widespread

dissemination of the Article; increased fees to defend (including substantial fees paid

to attorneys, expert witnesses, and other professionals to investigate, respond to, and

defend against the Authors’ assertions) and resolve Talc Claims; and other expenses


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 https://www.work4youlaw.com/blog/new-study-reinforces-link-between-talc-and-
mesothelioma/amp/

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incurred to counteract and prevent the Authors’ false statements from causing further

harm (including the costs of this litigation). LTL felt the brunt of this harm in New

Jersey, where its principal place of business is located.

      161. The Authors knew or reasonably should have anticipated that their false

statements and subsequent acts of concealment would cause the aforementioned actual

and special damages to LTL.

                                    Count II: Fraud
      162. LTL hereby incorporates each preceding paragraph as though fully set

forth herein.

      163. As alleged herein, the Authors’ have made statements that contain false

and untrue assertions of fact.

      164. The Authors’ false statements were made with the knowledge that they

were false and/or with reckless disregard as to their truth or falsity. Moreover, as

described herein, the Authors have repeatedly sought to conceal evidence undermining

the falsity of their statements and demonstrating the statements were made with

knowledge that they were false and/or with reckless disregard as to their truth or falsity.

      165. The Authors acted without any privilege, authorization, or immunity

when they published their false statements. The statements alleged herein are not




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protected statements of scientific opinion but, rather, economically-motivated, false,

and inaccurate statements concerning the data underlying their Article.

      166. The Authors made the false statements alleged herein intending that they

be relied upon by others, including by the public at large, consumers and manufacturers

of cosmetic talc products, scientists, and attorneys and expert witnesses involved in

talcum powder litigation, all of whom did reasonably and justifiably rely on the

Authors’ false statements.

      167. The Authors omitted from their publication that their statements regarding

the lack of alternative exposures were false and that they knew they were false. In view

of their affirmative representations, the Authors had a duty to fully disclose such facts.

The Authors instead actively concealed and thwarted LTL’s efforts to discover the

truth. As a result, LTL did not know and could not have known of the Authors’ fraud

until recently. LTL therefore made its business decisions and defense of Talc Claims,

including but not limited to LTL’s investigation of claims, approaches to settling such

claims, retention of experts, and trial strategies—in reasonable and justifiable reliance

on their fraudulent partial disclosures.

      168. As a direct and proximate cause of the Authors’ false statements, LTL has

suffered, and continues to suffer, actual and special damages, including, without

limitation, lost profits on the sale of Johnson’s Baby Powder caused by the widespread

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dissemination of the Article; increased fees to defend (including substantial fees paid

to attorneys, expert witnesses, and other professionals to investigate, respond to, and

defend against the Authors’ assertions) and resolve Talc Claims; and other expenses

incurred to counteract and prevent the Authors’ false statements from causing further

harm (including the costs of this litigation).

         Count III: Violation of Lanham Act § 43(a), 15 U.S.C. § 1125(a)

      169. LTL hereby incorporates each preceding paragraph as though fully set

forth herein.

      170. In connection with Johnson’s Baby Powder and Shower to Shower and

the services of the Authors, both of which are offered in interstate commerce, the

Authors have made material, false, and misleading descriptions or representations of

fact, as set forth above. The statements disparage and misrepresent the nature,

characteristics, and qualities of Johnson’s Baby Powder and Shower to Shower.

      171. In connection with Johnson’s Baby Powder and Shower to Shower and

the services of the Authors, both of which are offered in interstate commerce, the

Authors have made material, false, and misleading omissions of fact, as set forth above,

under circumstances where they had a duty to speak. The omissions disparage and

misrepresent the nature, characteristics, and qualities of Johnson’s Baby Powder and

Shower to Shower.


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       172. The Authors’ statements and omissions are literally false, expressly and/or

by necessary implication. In the alternative, the Authors’ statements have actually

deceived, or have the tendency to deceive, a substantial portion of the intended

audience.

       173. The Authors’ statements and omissions concerned matters that are

material to purchasing decisions and to other commercial decisions, including but not

limited to the safety of Johnson’s Baby Powder and Shower to Shower.

       174. The Authors’ statements and omissions were made in commercial

advertising, and therefore violate Section 43(a) of the Lanham Act, 15 U.S.C. §

1125(a). The Authors made the statements and omissions with a commercial motive:

namely, to promote services as testifying expert witnesses by making those services

more desirable, gaining additional clients, and reaping additional compensation. The

Authors’ statements and omissions were widely circulated to the public nationwide as

part of an organized effort to target a class or category of customers or potential

customers.

       175. Although mens rea is not required to establish a Lanham Act violation,

the Authors made these statements and omissions knowingly and willfully. In the

alternative, the Authors made them with willful blindness and/or reckless disregard as

to their truth or falsity.

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      176. As a direct and proximate result of the deception caused by the Authors’

statements and omissions, LTL has suffered, and will continue to suffer, loss of sales

and customers, irreparable harm to its commercial reputation and goodwill, and other

compensable damages. In addition, the Authors’ statements and omissions resulted in

the unjust enrichment of the Authors and/or their collaborators at LTL’s expense.

                             PRAYER FOR RELIEF
      WHEREFORE, LTL respectfully requests judgment or relief against the

Authors as follows:

      1)    Awarding special, compensatory, and punitive money damages to LTL

   against the Authors for injurious falsehood and product infringement;

      2)    Awarding money damages (including punitive damages) to LTL against

   the Authors for fraud;

      3)    Awarding money damages to LTL against the Authors for their violations

   of the Lanham Act;

      4)    Enjoining the Authors from continuing to make false statements of the

   type alleged herein;

      5)    Enjoining the Authors to answer questions regarding their Article that

   they have to date refused to answer;

      6)    Enjoining the Authors to retract and/or issue a correction of their Article;


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      7)     Enjoining the Authors to produce unsealed records identifying the

   individuals in the Article;

      8)     Awarding LTL the costs of this action, including attorneys’ fees, together

   with pre- and post-judgment interest; and

      9)     Awarding LTL such other relief as the Court deems just and proper.

                           DEMAND FOR JURY TRIAL
      LTL respectfully requests a trial by jury on all triable issues in accordance with

Fed. R. Civ. P. 38.




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Dated: July 7, 2023                          Respectfully submitted,

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                      Counsel for Plaintiff LTL Management LLC




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                LOCAL CIVIL RULE 11.2 CERTIFICATION

       Pursuant to Local Civil Rule 11.2, I hereby certify that the matter in

 controversy is not the subject of any other action currently pending in any court,

 or of any pending arbitration or administrative proceeding.

       I declare under penalty of perjury that the foregoing is true and correct.


 Executed on July 7, 2023.

                                              PATTERSON BELKNAP WEBB &
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